Case 2:99-cr-20290-.]DB Document 25 Filed 07/22/05 Page 1 of 2 Page|D 26

Prob 35 Report and Order Terminating Probation/
{3'93) Supervised Release

Prior to Original Expiration Date

United States District Court
FoR THE

WESTERN DlSTRICT OF TENNESSEE

UNITED STATES OF AMERICA

V.

.G.Q §§ }\9 Ull:l

 

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HARDY W]LLIAMS

Crim. No. 02:99CR20290-00]

On October 13, 2000, the above named was placed on Supervised Release for a period of four (4) years. He

has complied with the rules and regulations of Supervised Release, and is no longer in need of supervision.

lt is
accordingly recommended that he be discharged from supervision

Respectfully submitted,

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WZLL%/l@,w f
Christy J. usi

inited St s bation Officer

ORDER OF THE COURT

Pursuant to the above report, it is ordered that the defendant be discharged from supervision and that the
proceedings in the case be terminated

!“v
Dated this Z( day 0 20 O{.

 

0 United States District\Judge

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:99-CR-20290 Was distributed by faX, mail, or direct printing on
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Paul M. O'Brien

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Honorable J. Breen
US DISTRICT COURT

